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                               UNITED STATES DISTRICT COURT
                                          FOR THE
                                DISTRICT OF MASSACHUSETTS

                                                                        CRIMINAL #17-10189-RWZ

                                   _________________________

                                         UNITED STATES

                                                   v.

                                        ESSAM SAKKAL
                                   _________________________



                            DEFENDANT’S MOTION TO STRIKE
                          ALLEGED ALIASES FROM INDICTMENT
                          OR FOR OTHER APPROPRIATE RELIEF



        Essam Sakkal [“Sakkal”], defendant in the above-captioned criminal case, hereby moves this

Court to strike his two alleged aliases as set forth in the indictment or order other appropriate relief.

As grounds therefore, Sakkal avers as follows:

        1.       The indictment identifies the defendant as:

                        ESSAM SAKKAL
                        a/k/a ISSAM SAKKAL
                        a/k/a ESAM BZOUL

        2.       None of the discovery provided by the government to date identifies Sakkal as either

                 “Issam Sakkal” or “Esam Bzoul.”
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3.       Identity is not at issue in this case.

4.       It is the settled law of this Circuit that the use of an alias in an indictment and the

         introduction of alias evidence at trial is permissible if necessary to establish the

         defendant’s identity or important and relevant for some other legitimate purpose.

         United States v. Doe, 741 F.3d 217, 227 (1st Cir. 2013); United States v. Candelaria-

         Silva, 166 F.3d 19, 33 (1st Cir. 1999). At the same time, the Court has recognized

         that “[i]t is best to avoid the use of an alias particularly where ... there seems to be

         no relevant purpose for including it in the indictment.” United States v. Cowden, 545

         F.2d 257, 267-268 (1st Cir. 1976). See also United States v. McFarlane, 491 F.3d 53,

         61 (1st Cir. 2007). This is because, as has long been recognized: “The practice of

         loading indictments with unnecessary aliases is inherently prejudicial.” United States

         v. Monroe, 164 F.2d 471, 476-477 (2nd Cir. 1947). See also United States v.

         Wilkerson, 456 F.2d 57, 59 (6th Cir. 1972).

5.       In the instant case, the use of two alleged aliases associated with Sakkal in the

         indictment is both unnecessary and unfairly prejudicial. Accordingly, the indictment

         should be redacted to eliminate those alleged aliases prior to trial. In the alternative,

         the alleged aliases should not be read to the jury and should not be included in any




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                   copy of the indictment provided to the jury during its deliberations or otherwise

                   disclosed to the jury in any fashion.

                                                                  Respectfully submitted,

                                                                  ESSAM SAKKAL

                                                                  By his attorney,


                                                                         /s/ James L. Sultan
                                                                  James L. Sultan, BBO #488400
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                                            CERTIFICATE OF SERVICE

         I hereby certify that this document(s) filed through the ECF System will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants on January 10, 2018.


                                                                                        /s/ J ames L. Sultan




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